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                      UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS



IN RE BROILER CHICKEN ANTITRUST
LITIGATION                                  Case No. 1:16-cv-08637

                                            Hon. Thomas M. Durkin
This Document Relates To:
Direct Purchaser Actions                    Magistrate Judge Jeffrey T. Gilbert




     ORDER GRANTING COMMERCIAL AND INSTITUTIONAL INDIRECT
   PURCHASER PLAINTIFFS’ UNCONTESTED MOTION FOR PRELIMINARY
APPROVAL OF SETTLEMENT WITH DEFENDANT AMICK FARMS, LLC AND FOR
  CONDITIONAL CERTIFICATION OF THE PROPOSED SETTLEMENT CLASS
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       Now before the Court is Commercial and Institutional Indirect Purchaser Plaintiffs’

(“CIIPPs”) Motion for Preliminary Approval of Settlement with Defendant Amick Farms, LLC

(“Amick Farms” or “Settling Defendant”) and for Conditional Certification of the Proposed

Settlement Class (“Motion”).

       The Court, having reviewed the Motion, its accompanying memorandum and the exhibits

thereto, the Settlement Agreement between Amick and CIIPPs (“Settlement Agreement”), and

the file, hereby ORDERS AND ADJUDGES:

       1.      This Court has jurisdiction over this action and each of the parties to the

Settlement Agreement.

       2.      This Court certifies a Settlement Class defined as:

              All entities who indirectly purchased Broilers from Defendants or co-
       conspirators in the United States during the Class Period for their own use in
       commercial food preparation, including institutional purchasers such as hospitals,
       nursing homes, and schools.

               Specifically excluded from this Class are: (a) natural persons who
       purchased Broilers for their personal use and not for commercial Food preparation
       (End-User Consumers); (b) purchasers of Broilers directly from Defendants; (c)
       purchasers of Broilers for resale in unaltered form; (d) purchasers of value added
       products containing Broilers, that are not manufactured, supplied or processed by
       Defendants, or otherwise not under the control of Defendants; (e) the Defendants;
       (f) the officers, directors or employees of any Defendant; (g) any entity in which
       any Defendant has a controlling interest; and any affiliate, legal representative, heir
       or assign of any Defendant; (h) any federal, state governmental entities, any judicial
       officer presiding over this action and the members of his/her immediate family and
       judicial staff; (i) any juror assigned to this action; and G) any Co-Conspirator
       identified in this action.
This class definition is in all material respects the same settlement class proposed in CIIPPs’

Complaint, and the same class set forth in the Settlement Agreement. See Settlement

Agreement, § II.E.2.

       3.      The Court appoints the law firms of Cotchett, Pitre & McCarthy LLP, and

Gustafson Gluek, PLLC as Co-Lead counsel for the Settlement Class.

       4.      Upon review of the record, the Court finds that the proposed Settlement

Agreement has been negotiated at arms’ length, falls within the range of possible approval and is

hereby preliminarily approved, subject to further consideration at the Court’s Fairness Hearing.


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The Court finds that the Settlement Agreement is preliminarily determined to be fair, reasonable,

adequate, and in the best interests of the Class, raises no obvious reasons to doubt its fairness,

and raises a reasonable basis for presuming that the Settlement and its terms satisfy the

requirements of Federal Rules of Civil Procedure 23(c)(2) and 23(e) and due process so that

notice of the Settlement may be given to the Settlement Class when appropriate.

       4.      At a later time, Co-Lead Counsel will move the Court to approve a program to

notify members of the Settlement Class of this and any other then-pending settlements, as the

Court finds it would be more efficient and economical to defer the notice and claims process

until such time as there are further recoveries in the case, by settlement or by judgment.

       5.      After Class Notice has been approved and disseminated, the Court shall hold a

hearing on the Proposed Settlement to determine whether it is fair, reasonable, and adequate, and

whether it should be finally approved by the Court (the “Fairness Hearing”).

       6.      After Notice has been disseminated, Class Members who wish to exclude

themselves will be required to submit an appropriate and timely request for exclusion, and Class

Members who wish to object to the Settlement must submit an appropriate and timely written

statement of the grounds for objection. Class Members who wish to appear in person to object to

this Agreement may do so at the Fairness Hearing pursuant to directions by the Court.
       8.      Terms used in this Order that are defined in the Settlement Agreement are, unless

otherwise defined herein, used as defined in the Settlement Agreement.

       9.      If the Settlement Agreement is terminated or rescinded in accordance with its

provisions, or otherwise does not become Final, then the Settlement Agreement and all

proceedings in connection therewith shall be vacated, and shall be null and void, except insofar

as expressly provided otherwise in the Settlement Agreement, and without prejudice to the status

quo ante rights of CIIPPs, the Settling Defendant, and the members of the Class. The Parties

shall also comply with any terms or provisions of the Settlement Agreement applicable to

termination, rescission, or the Settlement otherwise not becoming Final.

       10.     Neither this Order nor the Settlement Agreement shall be deemed or construed to


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be an admission or evidence of any violation of any statute, law, rule, or regulation or of any

liability or wrongdoing by the Settling Defendant or of the truth of any of CIIPPs’ Claims or

allegations, nor shall it be deemed or construed to be an admission nor evidence of Released

Parties’ defenses.

       7.      The Action with respect to CIIPPs’ Claims is stayed as to the Released Parties (as

that term is defined in the Settlement Agreement) except as necessary to effectuate this

Settlement.



       IT IS SO ORDERED.


DATED:         7/9/2020
                                                     HON. THOMAS M. DURKIN




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